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     Todd M. Friedman (SBN 216752)
1
     Adrian R. Bacon (SBN 280332)
2    Meghan E. George (SBN 274525)
     Thomas E. Wheeler (SBN 308789)
3
     LAW OFFICES OF TODD M. FRIEDMAN, P.C.
4    21550 Oxnard St. Suite 780,
     Woodland Hills, CA 91367
5    Phone: 323-306-4234
6
     Fax: 866-633-0228
     tfriedman@toddflaw.com
7    abacon@toddflaw.com
     mgeorge@toddflaw.com
8
     twheeler@toddflaw.com
9    Attorneys for Plaintiff
10
                          UNITED STATES DISTRICT COURT
11                       CENTRAL DISTRICT OF CALIFORNIA

12    ANDREW GOODMAN,                              Case No.:
      individually and on behalf of all
13    others similarly situated,                   CLASS ACTION
14                  Plaintiff,                     COMPLAINT FOR DAMAGES
                                                   AND INJUNCTIVE RELIEF
15                           v.                    PURSUANT TO THE TELEPHONE
                                                   CONSUMER PROTECTION ACT,
16    BROOKLINEN, INC., and                        47 U.S.C. § 227, ET SEQ.
      DOES1-10, inclusive,
17                                                 JURY TRIAL DEMANDED
                    Defendant.
18

19
                                          INTRODUCTION
20      1. ANDREW GOODMAN (“Plaintiff”) bring this Class Action Complaint for
21         damages, injunctive relief, and any other available legal or equitable remedies,
22         resulting from the illegal actions of BROOKLINEN, INC. (“Defendant”), in
23         negligently contacting Plaintiff on Plaintiff’s cellular telephone, in violation
24         of the Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq.,
25         (“TCPA”), thereby invading Plaintiff’s privacy. Plaintiff alleges as follows


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1          upon personal knowledge as to himself and his own acts and experiences, and,
2          as to all other matters, upon information and belief, including investigation
3          conducted by their attorneys.

4
        2. The TCPA was designed to prevent calls and messages like the ones described

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           within this complaint, and to protect the privacy of citizens like Plaintiff.
           “Voluminous consumer complaints about abuses of telephone technology –
6
           for example, computerized calls dispatched to private homes – prompted
7
           Congress to pass the TCPA.” Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740,
8
           744 (2012).
9
        3. In enacting the TCPA, Congress intended to give consumers a choice as to
10
           how creditors and telemarketers may call them, and made specific findings
11
           that “[t]echnologies that might allow consumers to avoid receiving such calls
12
           are not universally available, are costly, are unlikely to be enforced, or place
13
           an inordinate burden on the consumer.           TCPA, Pub.L. No. 102–243, § 11.
14         Toward this end, Congress found that
15

16                 [b]anning such automated or prerecorded telephone calls to the home,
                   except when the receiving party consents to receiving the call or when
17                 such calls are necessary in an emergency situation affecting the health
18
                   and safety of the consumer, is the only effective means of protecting
                   telephone consumers from this nuisance and privacy invasion.
19

20         Id. at § 12; see also Martin v. Leading Edge Recovery Solutions, LLC, 2012

21         WL 3292838, at* 4 (N.D.Ill. Aug. 10, 2012) (citing Congressional findings

22
           on TCPA’s purpose).
        4. Congress also specifically found that “the evidence presented to the Congress
23
           indicates that automated or prerecorded calls are a nuisance and an invasion
24
           of privacy, regardless of the type of call….” Id. at §§ 12-13. See also, Mims,
25



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1          132 S. Ct. at 744.
2       5. As Judge Easterbrook of the Seventh Circuit recently explained in a TCPA
3          case regarding calls to a non-debtor similar to this one:

4
                   The Telephone Consumer Protection Act … is well known for its
5                  provisions limiting junk-fax transmissions. A less-litigated part of the
6
                   Act curtails the use of automated dialers and prerecorded messages to
                   cell phones, whose subscribers often are billed by the minute as soon
7                  as the call is answered—and routing a call to voicemail counts as
                   answering the call. An automated call to a landline phone can be an
8
                   annoyance; an automated call to a cell phone adds expense to
9                  annoyance.
10
           Soppet v. Enhanced Recovery Co., LLC, 679 F.3d 637, 638 (7th Cir. 2012).

11
        6. The Ninth Circuit recently affirmed certification of a TCPA class case
           remarkably similar to this one in Meyer v. Portfolio Recovery Associates,
12
           LLC, 707 F.3d 1036 (9th Cir. 2012).
13
                                       JURISDICTION AND VENUE
14
        7. This Court has federal question jurisdiction because this case arises out of
15
           violation of federal law, in particular the Telephone Consumer Protection Act,
16
           47 U.S.C. §227(b).
17
        8. Venue is proper in the United States District Court for the Central District of
18
           California pursuant to 18 U.S.C. § 1391(b) and 1441(a) because Defendant is
19
           subject to personal jurisdiction in the County of Los Angeles, State of
20
           California, the venue in which it texted Plaintiff.
21                                                PARTIES
22      9. Plaintiff is, and at all times mentioned herein was, a citizen and resident of the
23         State of California, County of Los Angeles. Plaintiff is, and at all times
24         mentioned herein was, a “person” as defined by 47 U.S.C. § 153 (10).
25



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1       10.Plaintiff is informed and believes, and thereon alleges, that Defendant is, and
2          at all times mentioned herein was, a corporation whose State of Incorporation
3          is Delaware and principal place of business is in New York. Defendant, is

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           and at all times mentioned herein was, a corporation and is a “person,” as

5
           defined by 47 U.S.C. § 153 (10). Defendant sells direct to market linens and
           home goods to hundreds of thousands of consumers. Plaintiff alleges that at
6
           all times relevant herein Defendant conducted business in the State of
7
           California and in the County of Los Angeles, and within this judicial district.
8
                                     FACTUAL ALLEGATIONS
9
        11.On or about April, 2020, Plaintiff visited Defendant’s online website
10
           brooklinen.com in order to make a purchase.
11
        12.At no time did Defendant inform Plaintiff that Defendant would utilize
12
           Plaintiff’s cellular telephone number to send spam text message and/or
13
           promotional offers as part of a marketing campaign. During the checkout
14         process, Plaintiff was never presented any language or agreement informing
15         or agreeing that Defendant would be permitted to use his number for spam
16         text messages using an automatic telephone dialing system.
17      13.Defendant then began to use Plaintiff’s cellular telephone for the purpose of
18         sending Plaintiff spam advertisements and/or promotional offers, via text
19         messages, including multiple messages sent to and received by Plaintiff
20         beginning in April 2020 and continuing in to May 2020.

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1       14.A true and correct screenshot of some of these text messages are as follows:
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1
        15.Defendant used an “automatic telephone dialing system”, as defined by 47
2
           U.S.C. § 227(a)(1) to place its marketing texts to Plaintiff. In particular, the
3
           equipment used by Defendant, to send the text messages at issue, to Plaintiff,
4
           has the capacity to: 1) store or produce numbers to be called using a random
5
           or sequential number generator; and 2) to dial those numbers. Such capacity
6          is evidenced by the fact that the text messages appear to be scripted and
7          generic and formulaic and sent from a short-code 290-71.
8       16.The telephone number that Defendant, or its agent called was assigned to a
9          cellular telephone service for which Plaintiff incurs a charge for incoming
10         calls pursuant to 47 U.S.C. § 227 (b)(1).
11      17.These telephone calls constituted calls that were not for emergency purposes

12         as defined by 47 U.S.C. § 227 (b)(1)(A)(i).

13
        18.Plaintiff did not provide Defendant or its agents with prior express consent to
           receive unsolicited text messages, pursuant to 47 U.S.C. § 227 (b)(1)(A).
14
        19.These telephone calls by Defendant, or its agents, violated 47 U.S.C. §
15
           227(b)(1).
16
                                  CLASS ACTION ALLEGATIONS
17
        20.Plaintiff brings this action on behalf of himself and on behalf of and all others
18
           similarly situated (“the Class”).
19
        21.Plaintiff represents, and is a member of, the Class, consisting of all persons
20
           within the United States who received any unsolicited text messages from
21
           Defendant which text message was not made for emergency purposes or with
22
           the recipient’s prior express consent within the four years prior to the filing of
23         this Complaint.
24      22.Defendant and its employees or agents are excluded from the Class. Plaintiff
25         does not know the number of members in the Class, but believes the Class


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1          members number in the hundreds of thousands, if not more. Thus, this matter
2          should be certified as a Class action to assist in the expeditious litigation of
3          this matter.

4
        23.Plaintiff and members of the Class were harmed by the acts of Defendant in

5
           at least the following ways: Defendant, either directly or through its agents,
           illegally contacted Plaintiff and the Class members via their cellular
6
           telephones by using marketing text messages, thereby causing Plaintiff and
7
           the Class members to incur certain cellular telephone charges or reduce
8
           cellular telephone time for which Plaintiff and the Class members previously
9
           paid, and invading the privacy of said Plaintiff and the Class members.
10
           Plaintiff and the Class members were damaged thereby.
11
        24.This suit seeks only damages and injunctive relief for recovery of economic
12
           injury on behalf of the Class, and it expressly is not intended to request any
13
           recovery for personal injury and claims related thereto. Plaintiff reserves the
14         right to expand the Class definition to seek recovery on behalf of additional
15         persons as warranted as facts are learned in further investigation and
16         discovery.
17      25.The joinder of the Class members is impractical and the disposition of their
18         claims in the Class action will provide substantial benefits both to the parties
19         and to the court. The Class can be identified through Defendant’s records or
20         Defendant’s agents’ records.

21
        26.There is a well-defined community of interest in the questions of law and fact

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           involved affecting the parties to be represented. The questions of law and fact
           to the Class predominate over questions which may affect individual Class
23
           members, including the following:
24

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1           a)     Whether, within the four years prior to the filing of this Complaint,
2                  Defendant or its agents sent any text messages to a Class member (other
3                  than a message made for emergency purposes or made with the prior

4
                   express consent of the called party) using any automatic dialing system

5
                   to any telephone number assigned to a cellular phone service;
            b)     Whether Plaintiff and the Class members were damaged thereby, and
6
                   the extent of damages for such violation; and
7
            c)     Whether Defendant and its agents should be enjoined from engaging in
8
                   such conduct in the future.
9
        27.As a person that received at least one marketing text message without
10
           Plaintiff’s prior express consent, Plaintiff is asserting claims that are typical
11
           of the Class. Plaintiff will fairly and adequately represent and protect the
12
           interests of the Class in that Plaintiff has no interests antagonistic to any
13
           member of the Class.
14      28.Plaintiff and the members of the Class have all suffered irreparable harm as a
15         result of the Defendant’s unlawful and wrongful conduct. Absent a class
16         action, the Class will continue to face the potential for irreparable harm. In
17         addition, these violations of law will be allowed to proceed without remedy
18         and Defendant will likely continue such illegal conduct. Because of the size
19         of the individual Class member’s claims, few, if any, Class members could
20         afford to seek legal redress for the wrongs complained of herein.

21
        29.Plaintiff has retained counsel experienced in handling class action claims and

22
           claims involving violations of the Telephone Consumer Protection Act.
        30.A class action is a superior method for the fair and efficient adjudication of
23
           this controversy. Class-wide damages are essential to induce Defendant to
24
           comply with federal and California law. The interest of Class members in
25



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1          individually controlling the prosecution of separate claims against Defendant
2          is small because the maximum statutory damages in an individual action for
3          violation of privacy are minimal. Management of these claims is likely to

4
           present significantly fewer difficulties than those presented in many class

5
           claims.
        31.Defendant has acted on grounds generally applicable to the Class, thereby
6
           making appropriate final injunctive relief and corresponding declaratory relief
7
           with respect to the Class as a whole.
8
                                    FIRST CAUSE OF ACTION
9
       NEGLIGENT VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT
10
                                     47 U.S.C. § 227 ET SEQ.
11
        32.Plaintiff incorporates by reference all of the above paragraphs of this
12
           Complaint as though fully stated herein.
13
        33.The foregoing acts and omissions of Defendant constitute numerous and
14         multiple negligent violations of the TCPA, including but not limited to each
15         and every one of the above-cited provisions of 47 U.S.C. § 227 et seq.
16      34.As a result of Defendant’s negligent violations of 47 U.S.C. § 227 et seq,
17         Plaintiff and The Class are entitled to an award of $500.00 in statutory
18         damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
19      35.Plaintiff and the Class are also entitled to and seek injunctive relief prohibiting
20         such conduct in the future.

21
                                   SECOND CAUSE OF ACTION

22
                       KNOWING AND/OR WILLFUL VIOLATIONS OF THE
                          TELEPHONE CONSUMER PROTECTION ACT
23
                                     47 U.S.C. § 227 ET SEQ.
24

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1        36.Plaintiff incorporates by reference all of the above paragraphs of this
2           Complaint as though fully stated herein.
3        37.The foregoing acts and omissions of Defendant constitute numerous and

4
            multiple knowing and/or willful violations of the TCPA, including but not

5
            limited to each and every one of the above-cited provisions of 47 U.S.C. § 227
            et seq.
6
         38.As a result of Defendant’s knowing and/or willful violations of 47 U.S.C. §
7
            227 et seq, Plaintiff and The Class are entitled to an award of $1,500.00 in
8
            statutory damages, for each and every violation, pursuant to 47 U.S.C. §
9
            227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
10
         39.Plaintiff and the Class are also entitled to and seek injunctive relief prohibiting
11
            such conduct in the future.
12
                                        PRAYER FOR RELIEF
13
            Wherefore, Plaintiff respectfully requests the Court grant Plaintiff, and The
14    Class members the following relief against Defendant:
15                 FIRST CAUSE OF ACTION FOR NEGLIGENT VIOLATION OF
16                             THE TCPA, 47 U.S.C. § 227 ET SEQ.

17          • As a result of Defendant’s negligent violations of 47 U.S.C. § 227(b)(1),
18             Plaintiff seeks for himself and each Class member $500.00 in statutory
19             damages, for each and every violation, pursuant to 47 U.S.C. §
20             227(b)(3)(B).

21
            • Pursuant to 47 U.S.C. § 227(b)(3)(A), injunctive relief prohibiting such

22
               conduct in the future.
            • Any other relief the Court may deem just and proper.
23
                  SECOND CAUSE OF ACTION FOR NEGLIGENT VIOLATION OF
24
                               THE TCPA, 47 U.S.C. § 227 ET SEQ.
25



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1           • As a result of Defendant’s negligent violations of 47 U.S.C. § 227(b)(1),
2              Plaintif seeks for himself and each Class member $1500.00 in statutory
3              damages, for each and every violation, pursuant to 47 U.S.C. §

4
               227(b)(3)(B).

5
            • Pursuant to 47 U.S.C. § 227(b)(3)(A), injunctive relief prohibiting such
               conduct in the future.
6
            • Any other relief the Court may deem just and proper.
7

8
                                           TRIAL BY JURY
9
         40.Pursuant to the seventh amendment to the Constitution of the United States of
10
            America, Plaintiff is entitled to, and demands, a trial by jury.
11

12

13
            Respectfully Submitted this 18th Day of August, 2020.
14
                                  LAW OFFICES OF TODD M. FRIEDMAN, P.C.
15
                                          By: /s/ Todd M. Friedman
16
                                              Todd M. Friedman
17                                            Law Offices of Todd M. Friedman
                                              Attorney for Plaintiff
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